Case 1:13-cv-02684-RM-MEH Document 13-2 Filed 11/26/13 USDC Colorado Page 1 of 5




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


    Civil Action No.

    ACTIVISION TV, INC.,

           Plaintiff,

           v.

    INVERNESS PROPERTIES LLC D/B/A INVERNESS HOTEL AND CONFERENCE
    CENTER,

           Defendant.
    ______________________________________________________________________________

            COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND
    ______________________________________________________________________________


           Plaintiff Activision TV, Inc., by way of this Complaint against Defendant Inverness

    Properties LLC d/b/a Inverness Hotel and Conference Center, hereby alleges as follows:

                                            THE PARTIES

           1.      Activision TV, Inc. is a corporation organized under the laws of Delaware with a

    principal place of business at 5400 Yahl Street, Suite D, Naples, Florida 34109.

           2.      On information and belief, Inverness Properties LLC d/b/a Inverness Hotel and

    Conference Center is a limited liability company organized under the laws of Colorado with a

    principal place of business at 2 Inverness Drive East #200, Englewood, Colorado 80112.

    Inverness Properties LLC has designated Clay Boelz, 2 Inverness Drive East #200, Englewood,

    Colorado 80112 as its registered agent for service of process.


                                             EXHIBIT B
to Four Winds Interactive LLC's Motion for Consolidation; D. Colo. Case No. 13-cv-02684-RM-MEH,
              Four Winds Interactive LLC v. Activision TV, Inc.; November 26, 2013
Case 1:13-cv-02684-RM-MEH Document 13-2 Filed 11/26/13 USDC Colorado Page 2 of 5




                                      JURISDICTION AND VENUE

           3.         This is an action for patent infringement arising under the patent laws of the

   United States, 35 U.S.C § 1 et seq.

           4.         This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

   §§ 1331 and 1338(a).

           5.         This Court has general personal jurisdiction over Defendant because, on

   information and belief, Defendant has systematic and continuous contacts with Colorado and this

   judicial district at least through its maintenance of its offices and a business location in Colorado

   and this district and through the regular transaction of business in Colorado and this district, and

   because Defendant is a limited liability company organized under the laws of Colorado. This

   Court has specific personal jurisdiction over Defendant at least because, as described further

   below, Defendant has committed acts of patent infringement giving rise to this action within

   Colorado and this judicial district and has established minimum contacts such that the exercise of

   personal jurisdiction over Defendant does not offend traditional notions of fair play and

   substantial justice.

           6.         Venue is proper in this judicial district under 28 U.S.C. §§ 1400(b) and 1391.

                INFRINGEMENT OF U.S. PATENT NOS. 7,369,058 AND 8,330,613

           7.         Plaintiff re-alleges and incorporates herein by reference the allegations in

   paragraphs 1 through 6.

           8.         On May 6, 2008, United States Patent No. 7,369,058, titled “REMOTE

   CONTROL ELECTRONIC DISPLAY SYSTEM,” was duly and legally issued by the United




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Case 1:13-cv-02684-RM-MEH Document 13-2 Filed 11/26/13 USDC Colorado Page 3 of 5




   States Patent and Trademark Office. A true and correct copy of the ’058 Patent is attached as

   Exhibit A to this Complaint.

           9.         On December 11, 2012, United States Patent No. 8,330,613 (collectively with the

   ’058 Patent, the “Activision Patents”), titled “REMOTE CONTROL ELECTRONIC DISPLAY

   SYSTEM,” was duly and legally issued by the United States Patent and Trademark Office. A

   true and correct copy of the ’613 Patent is attached as Exhibit B to this Complaint.

           10.        Plaintiff is the assignee and owner of all right, title, and interest in and to the

   Activision Patents, and has the right to assert causes of action arising under the Activision

   Patents and the right to any remedies for infringement thereof.

           11.        On information and belief, Defendant operates the Inverness Hotel and

   Conference Center.

           12.        Defendant is and has been directly infringing one or more claims of each of the

   Activision Patents in the United States by using digital signage in at least the Inverness Hotel and

   Conference Center in violation of 35 U.S.C. § 271.

           13.        Because of Defendant’s infringement of the Activision Patents, Plaintiff has

   suffered damages and will continue to suffer damages in the future.

           14.        Plaintiff has suffered irreparable injury due to the acts of infringement by

   Defendant and will continue to suffer irreparable injury unless Defendant’s infringing activities

   are enjoined.

           15.        Defendant has had notice of its infringement of the Activision Patents at least

   since March 18, 2013, when Defendant was notified of its infringement in a letter sent by

   certified mail.


   {00378526.DOCX1}                                      3
Case 1:13-cv-02684-RM-MEH Document 13-2 Filed 11/26/13 USDC Colorado Page 4 of 5




           16.        On information and belief, Defendant has continued to infringe despite its

   knowledge of the Activision Patents and Plaintiff's notice of infringement.

                                               JURY DEMAND

           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands a trial by

   jury on all issues so triable.

                                           PRAYER FOR RELIEF

           WHEREFORE, Plaintiff respectfully demands judgment for itself and against Defendant

   as follows:

           A.         an adjudication that Defendant has infringed one or more claims of each of the

   Activision Patents;

           B.         permanently enjoining and restraining Defendant, its agents, affiliates,

   subsidiaries, servants, employees, officers, directors, attorneys, and those persons in active

   concert with or controlled by Defendant from further infringing the Activision Patents;

           C.         an award of damages to be paid by Defendant adequate to compensate Plaintiff

   for its past infringement of the Activision Patents and any continuing or future infringement of

   the Activision Patents through the date such judgment is entered, together with pre-judgment and

   post-judgment interest, costs, and expenses as justified under 35 U.S.C. § 284;

           D.         to the extent that Defendant’s conduct with respect to the Activision Patents is

   found to be objectively reckless, enhanced damages pursuant to 35 U.S.C. § 284 for willful

   infringement of the Activision Patents;

           E.         an accounting of all infringing acts including, but not limited to, those acts not

   presented at trial and an award for Plaintiff’s damages for any such acts;


   {00378526.DOCX1}                                     4
Case 1:13-cv-02684-RM-MEH Document 13-2 Filed 11/26/13 USDC Colorado Page 5 of 5




             F.       a declaration that this case is exceptional under 35 U.S.C. § 285, and an award of

   Plaintiff’s reasonable attorneys’ fees; and,

             G.       such other and further relief at law or in equity as the Court deems just and

   proper.



   Dated: August 29, 2013                    Respectfully Submitted,

                                             PENDLETON, WILSON, HENNESSEY & CROW, P.C.



                                             s/ Darren B. Schwiebert
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                                             Attorneys for Plaintiff
                                             ACTIVISION TV, INC.


   Name & Address of Plaintiff:
   Activision TV, Inc.
   5400 Yahl Street, Suite D
   Naples, Florida 34109




   {00378526.DOCX1}                                     5
